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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


IN THE MATTER OF JURY AND                   )
NON-JURY TRIALS BEFORE THE                  )           ORDER
HONORABLE LAURIE SMITH CAMP                 )


      IT IS ORDERED that trial of the following cases are hereby continued from
December 6, 2005 to Tuesday, December 13, 2005:


      8:05CR083 United States v. Bonnie S. Timlick (John Higgins, Glenn Shapiro)
      8:05CR334 United States v. Harley D. Pyron (Fred Franklin, Mike Maloney)
      8:05CR163 United States v. Adam Salinas Trevino, Daniel Lee Walker, and
                Cleo Jo Walker (Tom Kangior, Jon Natvig, Mike Nelson, Bill Switzer)

      DATED December 7, 2005.

                                      BY THE COURT:

                                      s/ F.A. Gossett
                                      United States Magistrate Judge
